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                               UNITED STATES DISTRICT COURT
                               NORTHER DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 No Sugar Momma, LLC, an Illinois limited
 liability company, and Laurie Urbancik, an
 individual,
                                                           Case No. 24-cv-722
                 Plaintiffs,

         v.

 No Sugar Momma LLC, a Michigan limited
 liability company, and Jennifer Sherbrook, an
 individual,

                 Defendants.


                                           COMPLAINT
       Plaintiffs No Sugar Momma, LLC, an Illinois limited liability company, and Laurie

Urbancik, an individual, through their attorneys Richard J. Lofgren and Charles G. Wentworth of

The Law Office of Lofgren & Wentworth, P.C., state the following for their Complaint:

                                               Parties

       1.      Plaintiff No Sugar Momma, LLC is an Illinois limited liability company (“NSM”)

with its principal place of business in Crystal Lake, Illinois.

       2.      Plaintiff Laurie Urbancik is an individual residing in Crystal Lake, Illinois.

       3.      Urbancik is the sole member and manager of NSM.

       4.      NSM specializes in sugar- and gluten-free baked items and desserts.

       5.      NSM owns and operates a website at https://nosugarmomma.us (“NSM Website”).

       6.      NSM owns and operates an Instagram account under the username

@no_sugar_momma.
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       7.     The NSM Website explains that its products “are free of processed sugar and

allergens to elevate your well-being and delight your taste buds.” (Ex. A, NSM Website.)

       8.     Defendant No Sugar Momma LLC is a Michigan limited liability company

(“Michigan Company”) with its principal place of business in Trenton, Michigan.

       9.     On information and belief, defendant Jennifer Sherbrook is the sole member and

manager of the Michigan Company.

       10.    On information and belief, Michigan Company and/or Sherbrook owns and

operates a website at https://www.nosugarmommabakery.com (“Michigan Website”).

       11.    The Michigan Website describes the Michigan Company’s products: “Everything

is sugar free, gluten free and low carb. Keto and diabetic friendly. We make everything in-house

from scratch!” (Ex. B, Michigan Website.)

       12.    On information and belief, the Michigan Company and/or Sherbrook owns and

operates an Instagram account with the username @nosugarmomma_.

       13.    In other words, the product offerings of the Michigan Company are nearly identical

to those of NSM, their business names are identical (but for the missing comma in the Michigan

Company’s name), and their Instagram usernames are identical except for the use of underscores

in those usernames.

       14.    The plaintiffs and defendants together are referred to as the “Parties.”

                                    Jurisdiction and Venue

       15.    This is an action for damages, injunctive relief, and declaratory relief based on the

Michigan Company’s infringing use and exploitation of NSM’s registered and common law

trademarks in the name and phrase “no sugar momma.”




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        16.     The Michigan Company operates an active website through which users can send

information to the Company’s host computer, including their email address and orders for the

Company’s products.

        17.     Additionally, in November 2023, and as described further below, the Michigan

Company sold product to an Illinois customer and had it shipped to this state.

        18.     This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 1338(b), and 15 U.S.C. § 1121, because this action arises under the

Lanham Act, 15 U.S.C. § 1051, et seq.

        19.     This Court has supplemental jurisdiction as to Plaintiff’s remaining claims under

28 U.S.C. § 1367.

        20.     This Court has jurisdiction over the Parties’ dispute and venue is proper in this

district pursuant to 28 U.S.C. § 1391 because, among other things, this judicial district is the district

in which a substantial part of the events giving rise to the claims described herein occurred.

                                             Background

                                          Urbancik’s Marks

        21.     Urbancik owns various federal, state, and common law marks, including:

                    a. United States Trademark Registration No. 6792750 for the phrase “NO

                        SUGAR       MOMMA,         LOVINGLY        SWEETENED          BY     MOTHER

                        NATURE” (the “NSM Federal Mark”). (Ex. C, USPTO Registration.)

                    b. The Mark’s registration also covers the following design (“NSM Logo”):




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                   c. Illinois Trademark Registration No. 113605, which is described as follows:

                       “NO SUGAR MOMMA - WITH LOGO - ‘NO SUGAR’ APPEARS OVER

                       ‘MOMMA’ SPELLED WITH A HEART INSTEAD OF LETTER ‘O’,

                       COFETTI COLORED DOTS OVER ‘NO SUGAR’, TAGLINE

                       ‘LOVINGLY SWEETENED BY MOTHER NATURE’” (“NSM Illinois

                       Mark”). (Ex. D, Illinois Registration.)

                   d. The common law mark “no sugar momma” (“NSM Common Law Mark”)

                       which she has been using in connection with the marketing and sale of

                       baked goods since at least 2018, as set forth further below.

       22.     The NSM Federal Mark, NSM Illinois Mark, NSM Common Law Mark, and the

NSM Logo are collectively referred to as the “NSM Marks.”

       23.     The NSM Federal Mark is for use in connection with the following goods and

services in International Class 030: “Granola Snacks, bakery desserts, cookies, cakes, donuts, pies,

pastries, none that use common allergens.” (Ex. C, USPTO Registration.)

       24.     The NSM Illinois Mark relates to the following goods and services: “Product line

of snacks and desserts that do not contain common allergies (e.g., dairy, gluten, egg) or processes

sugars.” (Ex. D, Illinois Registration.)

       25.     Urbancik has allowed her business NSM to use these marks in the sale and

marketing of her baked-goods business since its formation on May 18, 2021.

                       Urbancik’s Gluten- and Sugar-free Baking Business

       26.     Urbancik began cooking gluten- and sugar-free baked goods in 2017, when she

would give away samples of them to friends and neighbors.




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          27.   In August 2018, Urbancik texted to a friend of hers a recipe that she called “No

Sugar Momma Granola.” (Ex. E, Recipe Card.)

          28.   A copy of that text message (with the recipe redacted out) is attached here as an

exhibit.

          29.   In early 2019, Urbancik began selling her products at farmers markets and bake

sales.

          30.   Those sales were also made under the moniker “no sugar momma.”

          31.   On November 19, 2018, Urbancik also purchased the web domains

“nosugarmomma.net” and “nosugarmomma.org.”

          32.   In early 2019, Urbancik hired a marketing firm to design for her the NSM Logo.

          33.   Later that year, on November 7, 2019, Urbancik registered an Illinois trademark—

the NSM Illinois Mark—with the Illinois Secretary of State for protection of the NSM Logo.

(Ex. D, Illinois Registration.)

          34.   On May 13, 2021, Urbancik filed a trademark application with US Patent and

Trademark Office for registration of the NSM Logo as a trademark related to International Class

030.

          35.   That same month, Urbancik formed NSM as an Illinois limited liability company,

and allowed it to begin using the NSM Marks.

          36.   The NSM Federal Mark was granted registration on July 19, 2022.

          37.   Urbancik, either individually or through NSM, has since at least as early as August

2018 engaged in continuous and uninterrupted use of the NSM Marks in connection with the

marketing and sale of gluten- and sugar-free baked goods.




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         38.     Since at least August 2018, Urbancik and NSM have incurred and expended

significant funds, time, and labor to promote, market, and advertise their goods and services using

the NSM Marks.

         39.     By reason of its use of the NSM Marks, Urbancik and NSM have developed and

continue to develop a domestic customer base loyal to their business and their baked goods.

         40.     The NSM Marks have also acquired meaning exclusively identified with NSM’s

baked goods so as to indicate goods that are available from NSM alone.

         41.     As a result of this, NSM is the sole and exclusive owner of all right, title, and

interest in the NSM Marks in connection with marketing gluten- and sugar-free baked goods.

               Jennifer Sherbrook and the Michigan Company Uses an Infringing Mark

         42.     According to the Michigan Company’s website, “we started our family business,

No Sugar Momma, in 2019 out of our house making cookies and bagels.” (Ex. B, Michigan

Website.)

         43.     The Michigan Department of Licensing and Regulatory Affairs states that the

Michigan Company was organized on January 7, 2021.

         44.     According to the ICANN registry of domain names, the Michigan Website was

created on October 14, 2021.

         45.     On information and belief, the Michigan website has been in a form substantially

similar to what it is today since at least December 6, 2022.

         46.     At multiple times during August 2023, Urbancik called Sherbrook to inform her

that the name and logo of the Michigan Company (“Infringing Mark”) infringed on the NSM

Marks.




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          47.   On August 24, 2023, Sherbrook received a certified letter from Urbancik informing

her of these continuing violations of the NSM Marks.

          48.   On September 21, 2023, during a phone call between the women, Sherbrook told

Urbancik to quick bothering her and then hung up.

          49.   Notwithstanding all these efforts to stop Sherbrook and the Michigan Company’s

infringing actions, they continue to do use the Infringing Mark.

          50.   In the fall of 2023, Urbancik learned that others had ordered product from the

Michigan Company though the Michigan Website and had it delivered to them in Illinois.

          51.   In November and December 2023, counsel for Urbancik sent to Sherbrook and the

Michigan Company a letter again demanding that Sherbrook and the Michigan Company cease

and desist their infringing actions. (Ex. F, Wentworth Letter, without exhibits.)

          52.   Nevertheless, Sherbrook and the Michigan Company continue infringing on NSM’s

rights.

          53.   The Defendants’ use of the Infringing Mark in the name of their business and in the

marketing of their sugar- and gluten-free baked products is confusingly and deceptively similar to

the NSM Marks.

          54.   In addition, based on content publicly available at the Michigan Website, the

Infringing Mark utilize words, design, and color scheme that are confusingly similar to the

registered and common law NSM Marks.

          55.   Both Urbancik and NSM on the one hand and Sherbrook and the Michigan

Company on the other will necessarily advertise their services through the same channels,

marketing events, and publications to reach consumers.




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        56.       Both promote, make available, and provide their products to the same types of

customers—those concerned about or required to consume (because of health and allergy reasons)

sugar- and gluten-free baked goods.

        57.       As a result, consumers will inevitably mistake the Michigan Company for NSM

and visa versa.

        58.       Indeed, on multiple occasions in the past two years, customers of NSM have

reached out to Urbancik and have asked her to confirm whether the Michigan Website is her

website (it is not) and to inform her that there is another business using the same name as hers.

                      Count I: Trademark Infringement, 15 U.S.C. § 1114(1)

        59.       Plaintiffs incorporate by reference the preceding paragraphs into this Count I.

        60.       Urbancik is the sole and exclusive owner of all right, title and interest in the NSM

Federal Mark in connection with the baking industry(ies).

        61.       Urbancik has licensed to NSM the exclusive use of the NSM Federal Mark.

        62.       The NSM Federal Mark is valid and enforceable.

        63.       Defendants’ use in commerce of the Infringing Mark on, or in connection with the

Defendants’ business infringes Plaintiffs’ exclusive rights to the federally registered NSM Federal

Mark and exclusive rights therein, in violation of 15 U.S.C. § 1114(1), in that Defendants use of

the Infringing Mark is in imitation of Plaintiffs’ registered trademark, and exclusive rights of the

NSM Federal Mark, and is likely to cause confusion, mistake, or deception as to the source of

origin of the products in violation of Plaintiffs’ substantial rights.

        64.       Without authority or permission from Plaintiffs, but with both actual and

constructive notice of the NSM Federal Mark, Defendants have used in commerce a reproduction,

counterfeit, copy, or colorable imitation of one or more of the NSM Federal Mark, or some



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confusingly similar variation thereof, in connection with services that overlap with at least some,

if not all, of those recited in the NSM Federal Mark.

         65.   By virtue of the overlap in the services provided by the Parties, and customers for

their products, there is a likelihood of confusion as to the source of their respective products in the

marketplace.

         66.   Defendant’s use of Infringing Mark is confusingly and deceptively similar to the

NSM Federal Mark.

         67.   Indeed, there has been actual confusion in the marketplace between the NSM

Federal Mark and the Infringing Mark as evidenced by NSM’s customers informing Urbancik that

they have located the Michigan Website and were not sure if it was NSM’s.

         68.   Consequently, the Defendants’ use of the Infringing Mark constitutes an unlawful

infringement of the rights secured by Plaintiffs, in that such use has caused actual and likely

confusion in the marketplace, and is likely to continue to cause confusion, to cause mistake, or to

deceive unless Defendants are enjoined from continuing such use.

         69.   At a minimum, Defendants have acted with willful blindness to, and in reckless

disregard of, NSM’s federally registered trademark, and exclusive rights of the NSM Federal

Mark.

         70.   Defendants’ activities constitute willful infringement of Urbancik’s federally

registered trademark in violation of 15 U.S.C. § 1114(1).

         71.   Such willful infringement entitles NSM to receive treble damages under 15 U.S.C.

§1117.

         72.   This is also an exceptional case within the meaning of 15 U.S.C. § 1117, such that

Defendants should be assessed NSM’s reasonable attorneys’ fees and costs.



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        73.     Defendants’ conduct has caused and will continue to cause damage and irreparable

injury to NSM and Urbancik, their business reputation, and the goodwill associated with the NSM

Federal Mark, as well as the other NSM Marks.

        74.     NSM and Urbancik have no adequate remedy at law, have suffered irreparable harm

and damage as a result of Defendants’ deliberate actions, and are suffering monetary damages in

an amount not thus far determined, but to be proven at trial.

       Count II: False Designation of Origin Under the Lanham Act, 15 U.S.C. § 1125

        75.     Plaintiffs incorporate by reference the preceding paragraphs into this Count II.

        76.     Because Plaintiffs advertise, market, and promote their services under the

trademarks described in this Complaint, these trademarks are the means by which their products

are distinguished from the products or services of others in the same or related fields.

        77.     Because of Urbancik and NSM’s long, continuous, and exclusive use of the NSM

Federal Mark, it has come to mean, and is understood by customers and the public, to signify the

services of Plaintiffs.

        78.     Defendants’ wrongful conduct includes the use of the Infringing Mark in a manner

that is confusing or similar to those of Plaintiffs.

        79.     Plaintiffs are the sole and exclusive owner and licensee of all right, title, and interest

in the NSM Federal Mark in connection with the baking industry.

        80.     Plaintiffs have not authorized Defendants to use the NSM Federal Mark, or

variations thereof, in connection with Defendants’ business, including marketing sugar- and

gluten-free baked goods, or otherwise.

        81.     Defendants’ use of the Infringing Mark is confusingly and deceptively similar to

the NSM Federal Mark.



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        82.     Defendants have and continue to abuse the NSM Federal Mark for their benefit and

gain in violation of Plaintiffs’ intellectual property rights.

        83.     Defendants’ past, current, and future use and exploitation of marks materially

similar to the NSM Federal Mark for their business is without authorization and likely to cause

confusion, to cause mistake and to deceive the public as to affiliation, connection or association of

Defendants to NSM and Urbancik’s future business ventures, and as to origin, sponsorship, or

approval of such products.

        84.     The acts of Defendants as described above are in violation of 15 U.S.C. § 1125(a),

in that Defendants have used confusingly similar marks to the NSM Federal Mark to cause

confusion and will continue to deceive the public as to the source or origin of Defendants’ services.

        85.     This is also an exceptional case within the meaning of 15 U.S.C. § 1117, such that

Defendants should be assessed Plaintiffs’ reasonable attorneys’ fees and costs.

        86.     Plaintiffs have no adequate remedy at law, have suffered irreparable harm and

damage as a result of Defendants’ actions, and are suffering monetary damages in an amount not

thus far determined, but to be proven at trial.

              Count III: Illinois Unfair Competition and Trademark Infringement

        87.     Plaintiffs incorporate by reference the preceding paragraphs into this Count III.

        88.     This Count arises under the Illinois Trademark Registration and Protection Act (765

ILCS 1036/1 et seq.) and the Illinois Uniform Deceptive Trade Practices Act (815 ILCS 510/1 et

seq.), and arises out of the same facts, occurrences and transactions as set forth above.

        89.     Plaintiffs did not permit Defendants to use the NSM Marks for profit.

        90.     On information and belief, Defendants have used and intend to continue to use a

confusingly similar imitation of the NSM Marks for the marketing and promotion of its marketing

and customer analysis-related services.
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       91.     Defendants’ use and exploitation of the NSM Marks is without authorization and

constitutes an infringement of Plaintiffs’ trademark rights.

       92.     Defendants’ acts of trademark infringement and unfair competition have been

committed with the intent to cause confusion, mistake, and deceive.

       93.     Plaintiffs have no adequate remedy at law, have suffered irreparable harm and

damage as a result of Defendants’ palming off its goods and services, and are thus entitled to

injunctive relief to prohibit such future conduct from occurring.

       94.     Plaintiffs have also suffered monetary damages in an amount not thus far

determined, but to be proven at trial.

       95.     Plaintiffs are entitled to payment of their attorneys’ fees and costs, in addition to

other monetary damages.

        Count IV: Common Law Unfair Competition and Trademark Infringement

       96.     Plaintiffs incorporate by reference the preceding paragraphs into this Count IV.

       97.     Defendants’ current and continued use of the Infringing Mark with knowledge of

Plaintiffs’ intellectual property rights in the NSM Marks constitutes misappropriation of Plaintiffs’

property rights, goodwill, reputation, and is unfair competition.

       98.     Defendants’ use and exploitation were done knowingly, willingly, and with careless

disregard for Plaintiffs’ intellectual property rights and their legitimate customers.

       99.     Defendants’ actions have caused and will continue to cause injury to Plaintiffs.

       100.    Defendants will profit from their unlawful actions and will be unjustly enriched to

the detriment of Plaintiffs.

       101.    As a result of Defendants’ unfair competition, Plaintiffs will be damaged in an

amount to be proven at trial.



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       102.    Further, as a result of Defendants’ conduct, Plaintiffs have suffered and will

continue to suffer damage to their business reputation.

       WHEREFORE, Plaintiffs Laurie Urbancik, an individual, and No Sugar Momma, LLC, an

Illinois limited liability company, respectfully request judgment against Defendants Jennifer J.

Sherbrook, an individual, and No Sugar Momma LLC, a Michigan limited liability company, as

follows:

           A. For a declaration that Urbancik is the owner of all right, title and interest in the
              NSM Marks;

           B. For an Order enjoining Defendants and their agents, servants, employees, and those
              acting in concert with Defendants, from using the Infringing Marks or otherwise
              infringing upon Urbancik’s intellectual property rights in any manner during the
              pendency of this action and permanently thereafter;

           C. For   an     Order   assigning     the               internet      domain       name
              “www.nosugarmommabaker.com” to Urbancik;

           D. For an award of damages for Plaintiffs’ pecuniary loss in amounts to be proven at
              trial;

           E. For an award of Plaintiffs’ reasonable attorneys’ fees together with the costs of this
              action; and

           F. For such other and further relief as the Court may deem just and proper

                                            Jury Demand

       Plaintiffs demand a trial by jury.

Date: January 26, 2024                Respectfully submitted,

                                      /s/ Charles G. Wentworth
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